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                                        IN THE UNITED STATES BANKRUPTCY COURT
                                             FOR THE DISTRICT OF DELAWARE

             In re:
                                                                             Chapter 11
                                                              1
             Prime Core Technologies Inc., et al.,
                                                                             Case No. 23-11161 (JKS)
                                                              Debtors.
                                                                             (Jointly Administered)


                                                            AFFIDAVIT OF SERVICE

                  I, Andrew K. Fitzpatrick, depose and say that I am employed by Stretto, the claims and
           noticing agent for the Debtors in the above-captioned cases.

                  On October 16, 2023, at my direction and under my supervision, employees of Stretto
           caused the following documents to be served via electronic mail on the service list attached hereto
           as Exhibit A:

                     Notice of Agenda of Matters Scheduled for Hearing on October 18, 2023 at 2:00 P.M.
                      (Eastern Time) Before the Honorable J. Kate Stickles (Docket No. 299)

                     Order Authorizing the Employment and Retention of Brown Rudnick LLP as
                      Counsel for the Official Committee of Unsecured Creditors of Prime Core
                      Technologies Inc., et al., Nunc Pro Tunc to August 31, 2023 (Docket No. 300)

                     Order Authorizing and Approving the Employment and Retention of Womble Bond
                      Dickinson (US) LLP as Co-Counsel for the Official Committee of Unsecured
                      Creditors Effective as of September 5, 2023 (Docket No. 301)

                     Order Authorizing and Approving the Employment of Province, LLC as Financial
                      Advisor to the Official Committee of Unsecured Creditors Effective as of September
                      1, 2023 (Docket No. 302)

                     Order (I) Authorizing the Debtors to Retain and Compensate Professionals Utilized
                      in the Ordinary Course of Business and (II) Granting Related Relief (Docket No. 303)




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           ______________________________________________
           1
             The debtors in these chapter 11 cases, along with the last four digits of each debtor’s federal tax identification number
           are: Prime Core Technologies Inc. (5317); Prime Trust, LLC (6823); Prime IRA, LLC (8436); and Prime Digital LLC
           (4528). Prime Trust, LLC’s service address is 10845 Griffith Peak Dr., #03-153, Las Vegas, NV 89135.
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                   Furthermore, on October 16, 2023, at my direction and under my supervision, employees
           of Stretto caused the following document to be served via electronic mail on the service list
           attached hereto as Exhibit B:

                   Order (I) Authorizing the Debtors to Retain and Compensate Professionals Utilized
                    in the Ordinary Course of Business and (II) Granting Related Relief (Docket No. 303)

                   Furthermore, on October 17, 2023, at my direction and under my supervision, employees
           of Stretto caused the following documents to be served via first-class mail on the service list
           attached hereto as Exhibit C:

                   Notice of Agenda of Matters Scheduled for Hearing on October 18, 2023 at 2:00 P.M.
                    (Eastern Time) Before the Honorable J. Kate Stickles (Docket No. 299)

                   Order (I) Authorizing the Debtors to Retain and Compensate Professionals Utilized
                    in the Ordinary Course of Business and (II) Granting Related Relief (Docket No. 303)

                   In addition to the methods of service set forth herein, parties who have requested electronic
           notification of filings via the Bankruptcy Court’s CM/ECF system were sent the above referenced
           documents via electronic service.


           Dated: October 20, 2023                                       _____________________________
                                                                                Andrew K. Fitzpatrick
           State of Colorado            )
                                        ) SS.
           County of Denver             )

           Subscribed and sworn before me this 20th day of October 2023 by Andrew K. Fitzpatrick.


           _____________________________
              (Notary’s official signature)




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                                               Exhibit A




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                                                                                        Exhibit A
                                                                                  Served via Electronic Mail

                                Name                                                Attention 1                       Attention 2                               Email
                                                                        c/o Pashman Stein Walder          Attn: John W. Weiss, William R.     jweiss@pashmanstein.com
 Allegheny Casualty Company                                             Hayden, P.C.                      Firth, III                          wfirth@pashmanstein.com
 Allsectech, Inc.                                                       Attn: Aviral Dhirendra                                                aviral198828@gmail.com
                                                                                                                                              david.fournier@troutman.com
                                                                        c/o Troutman Pepper Hamilton      Attn: David M. Fournier & Evelyn J. evelyn.meltzer@troutman.com
 AnchorCoin LLC                                                         Sanders LLP                       Meltzer & Marcy J. McLaughlin Smith marcy.smith@troutman.com
 Austin Ward                                                                                                                                  austindward@proton.me
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 Coinbits, Inc.                                                         Lewis LPA                      Attn: David M Newumann                   dneumann@meyersroman.com
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                                                                                                                                                pattytomasco@quinnemanuel.com
                                                                                                          Attn: Susheel Kirpalani & Patricia B. danielholzman@quinnemanuel.com
                                                                                                          Tomasco & Daniel Holzman & Alain alainjaquet@quinnemanuel.com
 Desolation Holdings LLC, Bittrex, Inc., Bittrex Malta Holdings Ltd.,   c/o Quinn Emanuel Urquhart &      Jaquet & Razmig Izakelian & Joanna razmigizakelian@quinnemanuel.com
 and Bittrex Malta Ltd.                                                 Sullivan, LLP                     Caytas                                joannacaytas@quinnemanuel.com
 Desolation Holdings LLC, Bittrex, Inc., Bittrex Malta Holdings Ltd.,   c/o Young Conaway Stargatt &      Attn: Robert S. Brady & Kenneth J. rbrady@ycst.com
 and Bittrex Malta Ltd.                                                 Taylor, LLP                       Enos                                  kenos@ycst.com
 DMG Blockchain Solutions, Inc.                                         Attn: Steven Eliscu                                                     steve@dmgblockchain.com
                                                                        c/o Gellert Scali Busenkell &
 Kado Software, Inc.                                                    Brown, LLC                        Attn: Michael Van Gorder           mvangorder@gsbblaw.com

 Kado Software, Inc.                                                    c/o Raines Feldman Littrell LLP   Attn: David S. Forsh               dforsh@raineslaw.com
 Net Cents Technology, Inc.                                             Attn: Clayton Moore                                                  claytonmoore@net-cents.com
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 Office of the Attorney General for the State of New Hampshire                                                                               attorneygeneral@doj.nh.gov
 Office of the Attorney General for the State of North Dakota                                                                                ndag@nd.gov
 Office of the Attorney General for the State of Oklahoma                                                                                    questions@oag.ok.gov
 Office of the Attorney General for the State of Utah                                                                                        uag@utah.gov
In re: Prime Core Technologies Inc., et al.
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                                                                                 Exhibit A
                                                                           Served via Electronic Mail

                                Name                                       Attention 1                          Attention 2                              Email
 Office of the Attorney General for the State of Vermont                                                                                 ago.info@vermont.gov
 Office of the Attorney General for the State of West Virginia                                                                           consumer@wvago.gov
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                                                                                                   Silverberg & Kenneth J. Aulet &       kaulet@brownrudnick.com
 Official Committee of Unsecured Creditors                       c/o Brown Rudnick LLP             Jennifer M. Schein                    jschein@brownrudnick.com
                                                                                                   Attn: Tristan G. Axelrod & Matthew    taxelrod@brownrudnick.com
 Official Committee of Unsecured Creditors                       c/o Brown Rudnick LLP             A. Sawyer                             msawyer@brownrudnick.com
                                                                 c/o Womble Bond Dickinson         Attn: Donald J. Detweiler & Elazar A. don.detweiler@wbd-us.com
 Official Committee of Unsecured Creditors                       (US) LLP                          Kosman                                elazar.kosman@wbd-us.com
 OKCoin USA Inc. and OKC USA Holding Inc.                        c/o Duane Morris LLP              Attn: Sommer L. Ross                  slross@duanemorris.com
                                                                 c/o McElroy, Deutsch, Mulvaney
 Philadelphia Indemnity Insurance Company                        & Carpenter, LLP                  Attn: Gary D. Bressler              gbressler@mdmc-law.com
 Polaris Ventures                                                Attn: Ruairi Donnelly                                                 ruairi.donnelly@polaris-ventures.org
                                                                 c/o Mintz, Levin, Cohn, Ferris,
 Polaris Ventures                                                Glovsky and Popeo, P.C.           Attn: Abigail O’Brient              aobrient@mintz.com
                                                                 c/o Mintz, Levin, Cohn, Ferris,
 Polaris Ventures                                                Glovsky and Popeo, P.C.           Attn: Joseph R. Dunn                jrdunn@mintz.com
                                                                 c/o Young Conaway Stargatt &      Attn: Michael R. Nestor & Ryan M.   mnestor@ycst.com
 Polaris Ventures                                                Taylor, LLP                       Bartley                             rbartley@ycst.com
 Securities And Exchange Commission                              Attn: Lara Shalov Mehraban                                            nyrobankruptcy@sec.gov
 Stably Corporation                                              Attn: Ivan Inchauste                                                  ivan@stably.io
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                                                                                                                                       MHess@gravislaw.com
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                                                                                                   Attn: Tobias S. Keller & Traci L.   tkeller@kbkllp.com
 Tiki Labs, Inc. dba Audius Inc.                                 c/o Keller Benvenutti Kim LLP     Shafroth                            tshafroth@kbkllp.com
                                                                 c/o Pashman Stein Walder
 Tiki Labs, Inc. dba Audius Inc.                                 Hayden PC                         Attn: John W. Weiss                 jweiss@pashmanstein.com
 US Attorney’s Office for the District of Delaware                                                                                     usade.press@usdoj.gov
 Yousef Abbasi                                                                                                                         Yousef.a.abbasi@gmail.com




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                                               Exhibit B




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                                                                            Exhibit B
                                                                      Served via Electronic Mail
                                                            Name                                Email
                                                                                 invoice@arnoldporter.com
                                              Arnold & Porter Kay Scholer LLP    Michael.mancusi@arnoldporter.com
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                                              Saltzman Mugan Dushoff, PLLC       rsaxe@nvbusinesslaw.com




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                                               Exhibit C




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                                                                                             Exhibit C
                                                                                       Served via First-Class Mail


                                Name                                       Attention                     Address 1                         Address 2                  City       State     Zip      Country
 Internal Revenue Service                                                                PO Box 7346                                                           Philadelphia     PA     19101-7346
 Office of the Attorney General for the District of Columbia                             441 4Th St Nw, Ste 1100S                                              Washington       DC     20001
 Office of the Attorney General for the District of Puerto Rico                          350 Carlos Chardón Street                Torre Chardón, Suite 1201    San Juan         PR     00918      Puerto Rico
 Office of the Attorney General for the State of Alabama                                 501 Washington Ave                                                    Montgomery       AL     36104
 Office of the Attorney General for the State of Alaska                                  1031 W 4th Ave, Ste 200                                               Anchorage        AK     99501
 Office of the Attorney General for the State of Arizona                                 2005 N Central Ave                                                    Phoenix          AZ     85004
 Office of the Attorney General for the State of Arkansas                                323 Center St, Ste 200                                                Little Rock      AR     72201
 Office of the Attorney General for the State of California                              PO Box 944255                                                         Sacramento       CA     94244-2550
 Office of the Attorney General for the State of Colorado                                Ralph L. Carr Judicial Building          1300 Broadway, 10Th Fl       Denver           CO     80203
 Office of the Attorney General for the State of Connecticut                             165 Capitol Ave                                                       Hartford         CT     06106
 Office of the Attorney General for the State of Florida                                 The Capitol Pl-01                                                     Tallahassee      FL     32399
 Office of the Attorney General for the State of Georgia                                 40 Capitol Sq Sw                                                      Atlanta          GA     30334
 Office of the Attorney General for the State of Hawaii                                  425 Queen Street                                                      Honolulu         HI     96813
 Office of the Attorney General for the State of Idaho                                   700 W. Jefferson St, Suite 210                                        Boise            ID     83720
 Office of the Attorney General for the State of Illinois                                James R. Thompson Center                 100 W. Randolph St           Chicago          IL     62706

 Office of the Attorney General for the State of Indiana                                 Indiana Government Center South          302 W Washington St 5Th Fl Indianapolis       IN    46204
                                                                                                                                  1305 E. Walnut Street Rm
 Office of the Attorney General for the State of Iowa                                    Hoover State Office Building             109                        Des Moines         IA    50319
 Office of the Attorney General for the State of Kansas                                  120 SW 10Th Ave, 2nd Fl                                             Topeka             KS    66612
 Office of the Attorney General for the State of Kentucky                                Capitol Building                         700 Capitol Ave Ste 118    Frankfort          KY    40601
 Office of the Attorney General for the State of Louisiana                               1885 N. Third St                                                    Baton Rouge        LA    70802
 Office of the Attorney General for the State of Maine                                   6 State House Station                                               Augusta            ME    04333
 Office of the Attorney General for the State of Maryland                                200 St. Paul Pl                                                     Baltimore          MD    21202
 Office of the Attorney General for the State of Massachusetts                           1 Ashburton Place, 20Th Floor                                       Boston             MA    02108

 Office of the Attorney General for the State of Michigan                                G. Mennen Williams Building, 7Th Floor   525 W Ottawa St              Lansing          MI    48909
 Office of the Attorney General for the State of Minnesota                               445 Minnesota St, Ste 1400                                            St. Paul         MN    55101
 Office of the Attorney General for the State of Mississippi                             Walter Sillers Building                  550 High St Ste 1200         Jackson          MS    39201
 Office of the Attorney General for the State of Missouri                                Supreme Court Building                   207 W High St                Jefferson City   MO    65101
 Office of the Attorney General for the State of Montana                                 215 N. Sanders                           Justice Building, Third Fl   Helena           MT    59601
 Office of the Attorney General for the State of Nebraska                                2115 State Capitol                                                    Lincoln          NE    68509
 Office of the Attorney General for the State of Nevada                                  Old Supreme Court Building               100 N Carson St              Carson City      NV    89701
 Office of the Attorney General for the State of New Hampshire                           Nh Department Of Justice                 33 Capitol St.               Concord          NH    03301
                                                                                                                                  25 Market St 8Th Fl, West
 Office of the Attorney General for the State of New Jersey                              Richard J. Hughes Justice Complex        Wing                         Trenton          NJ    08611
 Office of the Attorney General for the State of New Mexico                              408 Galisteo Street                      Villagra Building            Santa Fe         NM    87501
 Office of the Attorney General for the State of New York                                The Capitol                              2nd Floor                    Albany           NY    12224
 Office of the Attorney General for the State of North Carolina                          114 W Edenton St                                                      Raleigh          NC    27603
 Office of the Attorney General for the State of North Dakota                            State Capitol, 600 E Boulevard Ave       Dept. 125                    Bismarck         ND    58505
 Office of the Attorney General for the State of Ohio                                    State Office Tower                       30 E Broad St 14Th Fl        Columbus         OH    43215
 Office of the Attorney General for the State of Oklahoma                                313 Ne 21St St                                                        Oklahoma City    OK    73105
 Office of the Attorney General for the State of Oregon                                  1162 Court St NE                                                      Salem            OR    97301
 Office of the Attorney General for the State of Pennsylvania                            Strawberry Square 16Th Fl                                             Harrisburg       PA    17120
 Office of the Attorney General for the State of Rhode Island                            150 S Main St                                                         Providence       RI    02903
 Office of the Attorney General for the State of South Carolina                          Rembert C. Dennis Bldg                   1000 Assembly St Rm 519      Columbia         SC    29201
 Office of the Attorney General for the State of South Dakota                            1302 E Highway 14, Ste 1                                              Pierre           SD    57501
 Office of the Attorney General for the State of Tennessee                               301 6Th Ave N                                                         Nashville        TN    37243
 Office of the Attorney General for the State of Texas                                   300 W. 15Th St                                                        Austin           TX    78701

 Office of the Attorney General for the State of Utah                                    Utah State Capitol Complex               350 North State St Ste 230   Salt Lake City   UT    84114
 Office of the Attorney General for the State of Vermont                                 109 State St.                                                         Montpelier       VT    05609
 Office of the Attorney General for the State of Virginia                                202 N. Ninth St.                                                      Richmond         VA    23219

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                                Name                                           Attention                           Address 1                        Address 2                City    State     Zip        Country
 Office of the Attorney General for the State of Washington                                        1125 Washington St Se                                               Olympia       WA    98501
 Office of the Attorney General for the State of Washington                                        PO Box 40100                                                        Olympia       WA    98504
 Office of the Attorney General for the State of West Virginia                                     State Capitol, 1900 Kanawha Blvd E       Building 1 Rm E-26         Charleston    WV    25305

 Office of the Attorney General for the State of Wisconsin                                          17 West Main Street, Room 114 East P                               Madison       WI    53702
 Office of the Attorney General for the State of Wyoming                                            Kendrick Building                       2320 Capitol Ave           Cheyenne      WY    82002
 Office of The U.S. Trustee for the District of Delaware            Attn: Linda Casey, Esq.         844 N King St #2207                     Lockbox 35                 Wilmington    DE    19801
                                                                    Attn: Andrew Calamari, Regional New York Regional Office, Brookfield
 Securities And Exchange Commission                                 Director                        Place                                   200 Vesey Street, Suite 400 New York     NY    10281-1022
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 Securities And Exchange Commission                                 Attn: Secretary of The Treasury 100 F Street, NE                                                    Washington   DC    20549
 US Attorney’s Office for the District of Delaware                                                  1313 N Market Street                                                Wilmington   DE    19801




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